
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 



NO. 2-08-007-CV





IN THE INTEREST OF B.C., A CHILD



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FROM THE 231
ST
 DISTRICT COURT OF TARRANT COUNTY



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MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

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On February 4, 2008, we notified appellant that the trial court clerk responsible for preparing the record in this appeal had informed this court that arrangements had not been made to pay for the clerk’s record as required by Texas Rule of Appellate Procedure 35.3(a)(2). &nbsp;
See 
T
EX.
 R. A
PP.
 P. 35.3(a)(2). &nbsp;We stated that we would dismiss the appeal for want of prosecution unless appellant, within fifteen days, made arrangements to pay for the clerk’s record and provided this court with proof of payment. &nbsp;



Because appellant has not made payment arrangements for the clerk’s record, it is the opinion of the court that the appeal should be dismissed for want of prosecution. 
 &nbsp;Accordingly, we dismiss the appeal. &nbsp;
See
 T
EX
. R. A
PP
. P. 37.3(b), 42.3(b).

Appellant shall pay all costs of the 
appeal, for which let execution issue.



PER CURIAM 			





PANEL D: &nbsp;HOLMAN, GARDNER, and WALKER, JJ.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

DELIVERED: &nbsp;March 13, 2008

FOOTNOTES
1:See 
Tex. R. App. P. 47.4
.




